  Case 1:18-cr-10041-STA         Document 48       Filed 02/01/19      Page 1 of 1     PageID 76




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
VS.                                 )                CR. NO. 1:18-10041-STA
                                    )
JENNIFER LEE PEREZ,                )
                                    )
            Defendant.              )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on February 1, 2019, Assistant United States Attorney Jerry Kitchen,
appearing for the Government and the defendant, Jennifer Lee Perez, appearing in person, and with
counsel, Juni Ganguli.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 2 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, MAY 7, 2019 at 11:00 A.M., before
Chief S. Thomas Anderson.

       Defendant to remain released on present bond.

       ENTERED this the 1st day of February, 2019.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
